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                  EXHIBIT 6
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                                          Thursday, June 27, 2024

                              Latest: Candidates for Yorktown Town




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                             ~xaminer                     NEWS,

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       iiihiiHI l·iii'foh     STONE'S THROW




       Whistleblower Releases Audio, Files
       Complaint: Cites Medical Billing Plot
       at Optum
       ;; March 18, 2024 .:. Adam Stone

       Opinion
       rrJ We are part of The Trust Project

       This is the 14th installment in an ongoing investigative series, launched in
       December 2022, about CareMount/Optum/UnitedHealth and broader
       concerns about corporate healthcare.



       FLEECING THE FEDS
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Local Unionizing Effort Intensifies, Yorktown
Workers Poised to Vote Next Week
 • Plot on Tape
 • Insider Revelations
 • DOJ Investigation
 • Corporate Greed
 • Privacy Breach
 • Leadership Vacuum
 • Unionization Surge


By Adam Stone


  ►   0000                                                  0000   ..~ -

                    (Listen to the audio recording above)


After my last piece in this series in February uncovered a Justice
Department probe into UnitedHealth/Optum over alleged anti-
competitive practices at the publicly-traded behemoth, gaining coverage
in national outlets like The Wall Street Journal and Bloomberg News, I've
been inundated with messages from sources across the country
elaborating on the company's grotesque internal behavior.


Yet there's just way too much new detail to share in one newspaper
column, even one the length of several book chapters.


I'll focus today on one startling revelation, and also showcase a separate,
potentially game-changing grassroots development in our backyards.


The revelation involves grave concerns cited by a whistleblower about an
alleged local Optum Tri-State strategy to manipulate patient diagnoses
and secure more revenue by bilking the federal government through
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value-based incentive compensation via the Centers for Medicare &
Medicaid Services, or CMS.


As for the encouraging signal, it's a currently unfolding unionization effort
at various local facilities, with a vote scheduled for next week, on Mar. 26,
in Yorktown.


While some observers might harbor mixed feelings at best about unions,
the disgraceful behavior by management has been begging for a reaction,
and labor organizing is what muscular pushback looks like when boxing a
corporate brawler.


But let's review the alleged profits-over-patients scheme first.


Plausible Deniability


In short, value-
based incentive
compensation
is designed to
reward
providers for
delivering
quality care.


But, according
                     This image, used at a company meeting, illustrates
to an insider,       UnitedHealth/Optum's known desire to widen its grip across the United
executives           States. Optum Tri-State, including the area facilities formerly known as

within the           CareMount, have been folded into the larger Optum East syndicate.

Optum Tri-
State/Optum East organization are actively planning to add more
misleading diagnostic codes to patients' records, lacking the necessary
supporting evidence from labs or radiology reports.
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"This approach not only raises ethical concerns but also has the potential
to compromise patient care and integrity," a company source from the
administrative side of the operation e-mailed me last month, before our
first interview.

In fact, the source provided me with an audio, available on our website,
where you can hear internal deliberation at a Jan. 26 remote meeting,
held over Microsoft Teams.


My source described their view of the conversation's subtext among the
participants; the insider says decision-makers know they're straddling a
fine ethical and legal line.


Subtle communication cues, the source said, are vital to executing the
alleged scheme in a manner that seems to allow for plausible deniability.


   ►   0000                                                   0000   ..~ -


                   (Listen to the released audio recording here)


Lordy, There are Tapes


Nudging well-meaning doctors to embrace the strategy would have to be
a delicate dance.


It might entail reminding skeptical physicians about CMS language that
could provide credible cover for specious diagnostics.


A source estimated either 14 or 15 people at the meeting - identifying
eight or nine nurses, a trio of administrators, a physician, Dr. Kevin Baran,
and a pair of higher-level executives: Optum East Director of Clinical
Documentation Education Rachelle Gauvin and the Vice President of Risk
Adjustment Cristy Bauer, who the whistleblower said reports to President
of Risk Bearing Entities Alyssa Pepper.
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The source said the purpose of the
meeting was to counsel nurses on
how to incorporate additional
medical conditions - and thus
additional billing codes - from
existing data on patient charts, even
though some conditions might
obviously resolve in time.


"Maybe," one Optum East executive
                                            Assistant Attorney General Jonathan
offered in the Jan. 26 meeting, "new
                                            Kanter of the Justice Department's
providers would need even a higher          Antitrust Division stressed how "preserving
level, maybe a clinician-to-clinician       competition in healthcare markets is a
                                            priority'' for the DOJ . A multiagency
conversation about [saying
                                            investigation into corporate greed in
something like], hey, 'We presented         medical care was announced earlier this
this supported medical condition to         month.

you, and you disagreed with it. Let
me explain to you what the CMS definitions are around the condition, and
then I'd love to hear more about why you felt it might not be appropriate
for this patient.' Right. And that's how kind of those conversations will
grow."


My source said some people within the corporation know they're breaking
the law - outright fraud - while others believe they're skating inside the
legal lines.


But the insider characterized even that less malevolent behavior as
violating the "abuse" portion of the federal government's efforts to
mitigate "fraud, waste and abuse" in the healthcare industry.


"Some are knowingly committing this and know this was wrong and did it
anyway and others are abusing the system - they think they found a
loophole - and that is still wrong, that is abuse," the source declared when
we met in person for the first time last week.
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Room Where It (Unfortunately) Happens


Participants at the taped meeting talked about "buddy codes" - the notion
of linking one medical condition with another.


A nurse appears
to subtly
question the
plan, asking
higher-ups
where in CMS
the language
related to
buddy codes
even exists.


"Is there a place
on CMS where
we can find
what's
considered
buddy codes, or       Optum's Yorktown office, where workers are set to vote on
                      unionization next week. The activity comes amidst ongoing
is this               investigative revelations and concerns about corporate healthcare.
something that        Optum's Brewster warehouse/lab organized last year; other
y'all have            CareMount/Optum buildings are also abuzz with union planning.

generated up?"
the nurse diplomatically asked.


An executive then replied: "Not all generated up, but yes, we'll get you a
list of how they tie together."


In response to the nurse's inquiry, Baran (a physician who also serves in a
management capacity) quipped about it being a "Baranism."
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"No one else will know what you're talking about outside of this room,"
the doctor said.


He also noted how "they don't use the word buddy code," but there's "a
different tool" that Bauer, the risk adjustment vice president, would
ultimately be able to provide as guidance.


The conversation sparked some gentle, perhaps nervous laughter over
the seemingly exotic, homegrown nature of the scheme.


Drivers and Passengers


At one point in the conversation, an executive appears to tacitly
acknowledge the potential unease among nurses about the plan.


"So I know that's a different way of looking at things for all of you," she
said to them. "What do you think about that?"


My source stressed how many people in the meeting (Gauvin and Baran
included) are, broadly speaking, just passengers on the ride, not captains
of the ship, stuck inside the corporate vortex, navigating the system. The
whistleblower believes they might be decent enough people but, either
way, are unambiguously complicit.


Some plot participants might conclude they're painting just within the
legal lines in order to boost business.


"If you continuously inflate these conditions and fluff up these conditions,
it obviously raises the money," the insider said. "You get to take care of
said patient, but it also increases your profit."


Yet as the whistleblower explained it, any attempt to resurrect old patient
maladies into current billing is unambiguously bad practice on its face.
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"If you had atrial fibrillation in 1989, how is it relevant to a current visit?"
the source pointed out this past weekend at our second in-person
interview.


That's Fraud'


When I interviewed the insider on the phone two weeks ago, before we
first met, I asked for additional specifics on how executives might be
plotting to push misleading diagnostics on patients in order to drive
revenue.


"By giving patients a
diagnosis of
autoimmune
deficiencies and
hyperaldosterone,"
replied the source,
who requested
anonymity, fearful of
the corporation's
wrath. "Their
assessment is that if
a patient is on a
medication, any
medication that
might lower their           In May, survey findings leaked to The Examiner showed the
immune system, they         extent of dissatisfaction within CareMount/Optum's medical
                            team. The company acknowledged a "treatable chronic illness."
have this
automatically. That is
not an assessment. Right? That is not a real true assessment."


I asked a different former Optum executive for their take about the
allegations. If a patient suffers from rheumatoid arthritis and takes
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medication to address the symptoms, the drugs can impact your immune
system, the source noted.

"But does [the patient] have an autoimmune disorder? No," the former
executive explained. "So if that's what they're doing, that's fraud."


Multiple insiders said finance-focused executives generally don't care if
physicians are performing labs to confirm if patients are, say, genuinely
autoimmune.


And it's important to keep in mind the relevant business context: The
Optum Tri-State unit, based on sources cited in my piece last month, has
not been performing financially up to corporate standards through last
year, and local executives are said to be desperately scrambling to
identify ways to expand revenue by about 9 percent, hence the alleged
disingenuous diagnosing scam.


"By doing this, and then, of course, submitting these payments or these
charges to Medicare, that's fraud," said the whistleblower, who qualifies
for what's known as "qui tam," a legal provision allowing private people to
sue on behalf of the government or testify or assist in investigations.


Filing a Complaint


Eager to stop the company from proceeding with the dangerous alleged
plan, the whistleblower filed a complaint last month with the Office of the
Inspector General (OIG) through the U.S. Department of Health and
Human Services (HHS).


"Hotline tips are incredibly valuable, and we appreciate your efforts to
help us stamp out fraud, waste, and abuse," a Feb. 23 form e-mail from
the OIG stated to the source, confirming receipt of the complaint.
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The source detailed the
three steps deployed in the
plan to fleece the federal
government in the
company's search for grey
areas in Medicare
guidelines.


 • First, nurses are
    charged with reviewing
    patient charts,
    identifying chronic
    conditions referenced          This poster was created to celebrate Optum/former
                                   CareMount workers in Brewster, having successfully
    in past visits in a            unionized with 1199SEIU. (Click on image to open full

    member's health                posted document)

    history (even if years
    old) and then inserting the detail into the patient's records,
    resurrecting prior medical issues into an active problem list.
 • Second, try to keep providers inoculated: a patient comes for a visit
    for a specific new issue; the doctor treats the patient, closes their
    notes on the case and locks it.
 • Step three is where it gets super shady. A coder, usually offshore in
    India, reviews the chart, identifies a plausible code that had been
    inserted by a nurse (one that was not addressed at the doctor's visit)
    and submits the allegedly fraudulent claim to Medicare, without
    physician involvement.


"This is just flat out wrong, this is illegal," my source said when we first
met last Thursday afternoon at a local coffeehouse.
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There are about 90,000 diagnoses codes, and nearly 8,000 for risk
adjustment. When medical operators surface those riskier 8,000
conditions in billing, they make more money.


When I met the whistleblower for a second time over the weekend, I
asked about the poor nurses stuck in the middle; some are trained in
coding but most are not, the source stressed.


"They just have no place to go and they have to conform," said the insider,
sharing how a local nurse was recently advised by a top former executive
to "conform or leave."


The Hartford Plan


In fact, corporate officials in risk adjustment already installed the
deceptive diagnostics plan at Optum in Connecticut, my source explained,
noting how the effort has been seriously successful in expanding revenue.


"What I'm trying to get the OIG and CMS to perform is an audit on that
region in Hartford, Conn., because then they would see what I'm referring
to," the whistleblower said during a phone interview. "The increase of a
condition that patients may or may not have. So they've already
implemented this, and they recognize that it works for them, and they're
trying to put this across the board, across the region, across [Optum] Tri-
state."


Around here, the facility we previously called CareMount Medical (and
MKMG/Mount Kisco Medical Group before that) became part of Optum
Tri-State in 2022, bringing together Riverside Medical Group, CareMount
and ProHealth Care.

However, Optum Tri-State, the source said, has since been folded into
Optum East. (The company maintains aggressive plans to grow across its
already massive cross-country footprint throughout the vast U.S. market,
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with Optum West, Optum Midwest,
Optum South and Optum Mid-
Atlantic.)


What's struck me as I've dug deeper
into these issues is how the entire
framework for Optum's very
existence (Optum, a UnitedHealth
subsidiary, was started in 2011 by the
insurance giant) seems to rest on an
                                              U.S. Attorney General Merrick Garland has
ugly half-truth.
                                              pledged competition protection in
                                              healthcare. A Stone's Throw column last
Here's the thing: Corporations                month revealed a DOJ probe of antitrust
                                              issues at UnitedHealth/Optum. The
shouldn't be running healthcare
                                              reporting was picked up by national TV
organizations. And yes, physicians            and newspaper outlets, cracking the cover
help lead these groups.                       of The Wall StreetJournal.



But everyone on the inside (and many on the outside) know it's largely a
construct to allow corporate captains to really steer the bigger ship.


It's also worth noting that the well-meaning doctors performing life-saving
work inside of Optum are not generally well-schooled or focused on the
technical business side of corporate operations.

"These physicians, the guys who might run this, their background is
clinical," my source emphasized. "Understanding the laws and the rules
and regulations behind billing and coding and reporting, they do not
know, or they may not know it down to a detail that a person like me
might have."

Culture Club


Here's another way corporate pressures are complicating the work of
doctors, and opening them up to lawsuits. Let's say a patient comes in for
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a standard visit, and the provider asks what medications she's on. The
patient, for example, shares that she takes Ambien for sleep issues.


A physician might now feel pressure to classify the patient as being
"sedative dependent" on the medication (as opposed to just using it for
clinical purposes) in order to display more risk, thus generating bigger
billing dollars.


This allows the company to code the patient in a more profitable manner,
within the context of risk adjustment, but misleading classifications could
carry ramifications for patients, such as potentially losing their driver's
license.


(An area CareMount/Optum doctor is being sued by a patient in a similar
case.)


As patients grow more cognizant of these issues, they might grow
understandably wary to share key details of their health history with
doctors.


In terms of the executives, many are certainly fine folks in their personal
lives, and some might be trying their best to do right within the
constraints of the company's rancid culture.


But I wanted to gain a better understanding of what makes people tick
within the organization.


What's driving the particularly insidious behavior, even by large corporate
standards?


'Corporate Greed'


At the end of the day, the culture largely encourages self-preservation,
without any genuine attention to holistic patient health, scores of sources
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told me.


"So I put you at the
helm of Optum Tri-
state, your main job
is to show profit year
over year," one
administrator
stressed. "If you don't
do so, the leadership
at Optum is going to
find another person
with the same MBA,
the same credentials
to fill that need and
replace you."
                              Grace Totman, a healthcare consultant at Capstone Health,
Several sources said          provided insight into the intricate web of ethical concerns within
                              the U.S. healthcare industry.
the idea of framing
internal
conversations around what serves patients is not even on the distant
radar screens of many corporate leaders.


Starting any policy dialogue in that mission-based fashion, they say, would
produce eye rolls at best.


Your care is just a widget.


Prioritizing compassion, within the context of financial sustainability, is
just not infused within the spirit of the internal language at
UnitedHealth/Optum - or in much of for-profit U.S. healthcare. (Most
other developed nations offer some form of universal healthcare,
executing with different degrees of success while navigating various
challenges.)
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"At the end of the day," one administrative source put simply, "it is
corporate greed."


Denial of Care


I also interviewed a former Optum executive who elaborated on the
prevalence within American healthcare of questionable coding practices,
including the manipulation of medical codes to inflate revenue, known as
upcoding. (Kaiser, for instance, has faced similar allegations.)


"If you code things at a more complex level than that patient actually
exhibits, that's fraud," the source said.


Busy doctors, generally speaking, hate the coding task, and are just trying
to get the work done and focus on patient care.


I asked the former executive if physicians, while undoubtedly facing
exceedingly tough circumstances, should be expected to do more to resist
corporate pressures?


"I think that what I'll say in terms of the Optum model is the docs should
have a partner in the office consistently that is making sure that coding is
being done and that they are compliant with CMS standards," the former
executive replied. "Yes, you need to code. Coding needs to be
comprehensive in order to get paid. We understand that. However, we
want to make sure that it's being done in a compliant manner consistent
with how the patient presents."

As for local access issues, the executive said the former CareMount
facilities simply don't employ enough doctors, which has its roots in a
variety of systemic issues.


But the bottom line is that patients should be able to gain access to
primary care doctors within 1O days tops, according to industry standards
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adopted even
by Optum, the
former
company
executive
stressed.


The wait for
many local
patients is often
at least three
months -
frequently far
longer.


"So there's a
phrase that           Former Congresswoman Dr. Nan Hayworth, left, with husband Dr. Scott
                      Hayworth, prior president of Optum Tri-State. Scott Hayworth, former
nobody in
                      CareMount CEO, left the company at the end of 2023. Pre-certification
healthcare            work has been outsourced to an Indian firm, IKS Health. Hayworth
wants to hear,        chairs the IKS advisory board.

and that is
denial of care," the former executive said in our phone interview. "And
basically, what Optum is doing is they're denying care to members when
they're saying it's going to be six months to a year; that is an outrage. And
I'm just going to say that's denial of care. If I had that happen, I'd be
making some calls."


Hungry, Hungry HIPAA


The former executive also described a growing national concern around
problems with patient privacy.


Medical information is required to be safeguarded by law, through the
Health Insurance Portability and Accountability Act, better known as
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HIPAA.


But there's mounting unease over the way companies are handling our
data.


"The other thing that is happening, and it's happening on kind of a
national level, is there are medical records that are being offshored," the
source said. "And when things go offshore that are specific to medical
records, that's in direct violation of HIPAA."


As chance would have it, shortly after my interview with the former
executive about HIPAA, I heard from a local patient, Poughkeepsie's
Loretta Spence, who had just received a link from Optum, over e-mail and
text, about her mammography results, seeking her agreement to
troubling terms.


"I acknowledge and
understand that the result
message is not encrypted or
otherwise protected, and that
there is a risk of a violation of
my privacy, which may
include my personally
identifiable health
information being accessed
or viewed by an unintended
third party while in transit or
when stored on your mobile
device, or by hacking or some        National Labor Relations Board Hearing Officer Elise
                                     Oviedo recommended a new election after siding
other means," the warning            with workers on several counts in a detailed ruling,
from Optum stated last week.         available on our website. (Click on image to open full
                                     document)

You have to agree to those
unnerving digital terms to obtain your medical results?!
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"It seems to me that Optum does not want to pay for encryption
software," Spence said.


The tension between UnitedHealth and the federal government also grew
more public last week as Andrew Witty, the CEO, visited with senior White
House officials on Tuesday, as first reported by The Washington Post,
addressing a recent cyberattack that continued to affect provider
payments.


Administration officials called upon Witty and fellow leaders in the
industry to increase emergency funding for impacted providers, according
to press reports.


"Once the U.S. Department of Health and Human Services (HHS) was
notified of the cyberattack on Change Healthcare systems on February 21,
2024, HHS acted to address the impacts," a statement from the HHS press
office noted last Tuesday.


(In 2022, the DOJ unsuccessfully tried to stop the $13 billion deal that
allowed UnitedHealth to acquire Change Healthcare.)


Ask the Analyst


Last week I also connected with Grace Totman of Capstone Healthcare, a
global firm that advises large companies about the regulatory landscape.


Totman is director on the healthcare team at Capstone, and consults
private equity firms, hedge funds and corporate clients on investment
strategies and mergers and acquisitions; my piece last month that
exposed the DOJ investigation based on internal documents had caught
her eye.


Totman highlighted the fact that insurers and providers like United
Health/Optum get paid what's called a capitated amount (a set fee) based
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on projected healthcare costs.


"The theory is that patients with many chronic conditions are more
expensive, and that, therefore, UNH/Optum should get paid more for
taking care of them," Totman explained last week. "However, this creates
an incentive to diagnose as many conditions as possible. We've seen
UNH/Optum and other insurers/providers become extremely skilled at
maximizing diagnoses, and therefore risk scores and payments."


If the government is going to seek remedies, the approach might have to
be surgical, with something like a state-by-state approach.


"I spoke to a lawyer last week who had an
interesting take that basically said I think
the result of this is, okay, in New York,
United/Optum can no longer purchase
primary care providers, and we're going to
instill a $100 million fine for the double
billing and specific practices there,"
Totman recounted in a phone interview.
"In Oklahoma, Optum can no longer                Senior White House officials met
                                                 recently with UnitedHealth CEO
purchase any nursing homes, and we're
                                                 Andrew Witty in the aftermath of a
going to impose a $50 million fine. It's         deeply troubling cyberattack.
interesting to think about how it could be
piecemeal because the local versus
national plays such a role."


Speaking of which, it's hard to know which medical facilities acquired by
Optum are displaying bad behavior that is indicative of the corporation's
influence versus bad behavior that was already infused within the DNA of
longtime operations.


Here locally with CareMount, many patient concerns predated Optum's
entry into the market, even though symptoms have grown considerably
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worse over the past two years.


One other administrative source shared details with me about
shenanigans at Optum's New Jersey operations, with a unit "knowingly
billing Medicaid and Medicare for procedures that were not completed or
done correctly."


But some company units, the source explained, operate like "insular
fiefdoms."


State of the Union


As for the local unionizing efforts, I obtained a National Labor Relations
Board (NLRB) Notice of Petition for Election that alerts Optum Medical
Care employees at the Yorktown office to 1199SEIU United Healthcare
Workers East's petition for representation.


The petition says the effort applies to all full-time and regular part-time
employees including per diem workers at the 355 Kear St. location in
Yorktown Heights, but excludes physicians, dentists and "confidential
employees, guards, managerial employees, and supervisors as defined in
the act."


I interviewed a central figure in the organizing effort two weeks ago.


Wages are a concern - a recent 1 percent raise was viewed as a slap in the
face - but the source said employees are also fighting for patients.


The longtime local healthcare worker is keenly aware of the ongoing
complaints about the inability of patients to reach the office by telephone.


"We're doing this to increase patient satisfaction and staffing," stated the
source, who requested anonymity but is ready to go public after next
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week's vote.
"And I'm sure
everybody
knows about
our phones
because I hear
it every day."


In addition to
higher wages,
will the union
also fight for
the hiring of
more
employees to fill
some gaping
personnel voids       Records obtained by The Examiner through the Freedom of
                      Information Law (FOIL) have detailed frustrations with
that impact           CareMount/Optum's questionable billing system, with scores of
patients?             patients appealing to state Attorney General Letitia James's Health Care
                      Bureau for help over the course of several years.

"Absolutely," the
source replied in our phone interview, "we won't have a problem [in the
future] with staffing."


Brewster Battle


Last year, Optum employees at a Brewster lab/warehouse took the lead,
with workers voting to form a union with 1199SEIU.


My source said the organizing was met with intense union busting efforts
by the corporation, and the NLRB ruled against Optum Medical Care
management for interference in the union election.
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"I can't even tell you the
amount of intimidation," the
source stressed in a phone
interview. 'They did horrible
things to them. I just heard
on a Zoom meeting the other
night what exactly they did to
them, and it was disgusting.
They didn't even have a
working bathroom. They
were told to go across the
street."
                                   Layoffs and high-profile departures have left the local
                                   C-suite largely vacant at the Chappaqua Crossing
On Oct. 24, 2023, in a
                                   administrative offices, with an estimated two dozen
complex, detailed 32-page          or so executives who worked at the former
ruling available on our            CareMount as of 2023 now gone following a wave of
                                   new job cuts executed last month.
website, NLRB Hearing
Officer Elise Oviedo sided
with the workers in multiple areas, and recommended "the results of the
election be set aside and a new election be ordered."


"They had to go to the federal labor board, they had to go to the appeals
court," my source remarked about the Brewster battle, which involved
more than 100 workers. "They had videotapes of things that were being
said. This has been a fight. They broke ground for us."


Busting Chops


But the size and scope of the local organizing effort stretches far beyond
Brewster and next week's Mar. 26 vote for 65 Yorktown employees.


Union activity is developing building by building at the old CareMount,
across the region, brewing in Briarcliff, Ossining, Croton, Somers,
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Katonah, Jefferson Valley, Carmel, Patterson, Fishkill, Poughkeepsie,
Kingston and beyond.


Efforts are even underway in Mount Kisco, where the organization
maintains several buildings and got its start as Mount Kisco Medical
Group in 1946.


"There's others, too," my source said of the New York area labor effort,
with local leaders at the various former CareMount buildings. "It goes
from New York City up to Kingston."


When I initially interviewed the source earlier this month, they said
representatives from the Minnesota-headquartered
insurance/healthcare/data analytics multinational conglomerate were
roaming the offices, trying to put the kibosh on the effort.


"They're walking around with Optum IDs on, but there's no picture and
there's no title," the source said. "There's just a first name. So we know
those are the lawyers for UnitedHealth Group, and they're going to be
holding meetings and trying to dissuade us and all this other garbage for
the next two weeks. And we've all already said none of us are attending
the meeting."


(Optum's press office stopped replying to my requests for comment last
year.)


"Our three medical groups have the expertise, experience and dedication
to create exceptional, personalized experiences for our patients, their
families and our communities," states a portion of a prepared comment
the company issued to us in 2022.


'They Will Haunt Me'
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As followers of
this series
know, I've also
been receiving
documents on
about a
monthly basis
since last
summer from
state Attorney
General Letitia
Ann James'
office, resulting
from a FOIL
request I
submitted last
                     The 360 N. Bedford Rd. facility in Mount Kisco. Optum's policies have
January.
                     left local residents largely reliant on urgent care, unable to see their
                     primary care doctors when they get sick, with area facilities no longer
The latest batch     keeping ample spots open for same-day calls.

of digital
documents, obtained earlier this month, includes many more stories of
patients citing systemic efforts to get them to pay errant bills, and details
efforts by the AG's Health Care Bureau to aid complainants.


For instance, one CareMount patient on July 24, 2022, contacted the AG's
office alleging persistent harassment despite providing Medicaid
documentation.


"They simply do not acknowledge my calls or documentation," the patient
wrote the AG. "I am now facing [an] endoscopic biopsy and colonoscopy
July 26 and can only wonder how they will 'haunt' me with huge copays for
said procedures."
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Assistant Attorney General Abisola Fatade, in a form e-mail, told me the
office would be producing another round of records by May 6. (The latest
97 pages of documents are available on our website, like past records
obtained through FOIL.)


In terms of the bigger picture, these investigative columns, which debuted
in December 2022, have uncovered our local healthcare
company's oppressive physician employment contract; a disastrous
phone system; a related local emergency room crunch; alleged double
billing; copay confusion; a scathing internal survey; data privacy
breaches; attorney general scrutiny; suspect COVID-19 testing
charges; predatory marketing tactics; Medicare Advantage-related
profiteering concerns; state lobbying efforts; a disconcerting doctor
shortage; the troubling mix of healthcare with insurance
services; bruising layoffs; the unethical banning of unwell patients; and
the denial of patient medical records.


Optum's policies have also left local residents largely reliant on urgent
care, unable to see their primary care doctors when they get sick, with
area facilities essentially no longer keeping spots open for same-day calls,
the investigation has found.


Lights Out


When I visited the second-floor local executive offices last Thursday
afternoon in Chappaqua, the lights were off and the doors locked shut.


High-profile departures and firings have left the area C-suite at
Chappaqua Crossing largely vacant, with an estimated two dozen or so
executives who worked at the former CareMount as of last year now gone
following a wave of new job cuts executed last month.


We reported in January on Optum Tri-State CEO Kevin Conroy's departure,
which unfolded shortly after former president Dr. Scott Hayworth exited
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the enterprise, along with other recent high-profile goodbyes.


Late last year, our coverage also unveiled the outsourcing of pre-
certification work to an Indian firm, IKS Health .


Sources have since noted that Hayworth is affiliated with IKS; an online
search shows he chairs the advisory board for the firm. A company
website lists several offices in India, along with locations in Dallas and Los
Angeles.


An insider also told me Optum purchased CareMount for about $2 billion
in 2022, and that Hayworth collected a roughly $90 million cut himself.


Many CareMount doctors (who had been company shareholders before
Optum's acquisition converted physicians into subordinate employees)
also secured significant paydays and retired at the time.


Federal Eyes


As word began to spread in recent weeks about additional layoffs, and
more doctor departures, my inbox has overflowed with patients
desperately seeking answers.


"Rumor has it more PC's have left - we are being left completely helpless,"
one patient wrote me last week.


Meanwhile, on Mar. 5, the Federal Trade Commission (FTC) put out a
press release announcing a joint inquiry with the DOJ and HHS into the
impact of corporate greed in healthcare, particularly focusing on the
influence of private equity and potential harm to patients, workers and
affordability.


Amidst United's incomprehensible $22.4 billion in profits and a $450
billion market cap (richer than the entire nation of Denmark and its $431
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billion GDP), the corporation's unchecked vertical integration has birthed
anti-competitive practices, monopolizing the market from insurance to
pharmaceuticals to healthcare; a mind-bending estimate of 10 percent of
U.S. doctors reportedly work under the company's thick thumb.


Patient care has taken an unambiguous backseat to shareholder wealth,
and regulators currently appear poised to try and confront the threat.


While government intervention comes with its own set of credible
concerns, experts generally agree that the status quo is a sick mess.


"Preserving competition in health care markets is a priority for the
Department of Justice because of its important impact on the health and
well-being of Americans," Assistant Attorney General Jonathan Kanter of
the Justice Department's Antitrust Division stated in a press release two
weeks ago.


Non-Optum local doctors I've spoken to on the broader issues also
bemoan insurance carriers' bad faith negotiating, discrimination in pay
and market control of the big operators, squeezing out independents.


"Guys like me can't survive when I get paid 30 to 40 percent less for some
services," one independent area doctor texted me.


Deep End


It's worth noting that I also hear from patients who remain deeply (and
rightfully) appreciative to live in a community with a multispecialty
medical facility within a short ride of their homes, given the remarkable
physicians and other world-class healthcare workers toiling away inside of
Optum.


But everyone I've communicated with over the past 15 months -
hundreds of patients - expresses deep dissatisfaction about the severe
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service and access issues.


On a deeper level, this ongoing series is about what healthcare should
look like.


It's about what we should expect and demand.


In the more natural state of the world, delivering compassionate care
might conjure idyllic images of a local village elder traveling the town,
tending to the ill and imparting wisdom to the healthy, guiding us on
foods to eat, treatments to consider, lifestyles to embrace.


The question is how to balance that ideal with modern medicine's
miracles and complexities.


Every degree of departure from that fundamental vision strips us further
away from the type of nurturing, individualized, thoughtful care we crave.
And no, not all corporations are precisely the same, even though the
problems run throughout the entire healthcare system.


It's not naive to point out that organizations can be hard-headed about
finances while thoughtfully executing a lofty mission.


But it's almost impossible to expect when our medical care is treated by
bean counters as just another for-profit business service.


Time and Again


The cold, icy role that bad corporate sick care actors play in the modern
world is tragically far removed from any sense of even trying to deliver
holistic healthcare.


The miracles of modern medicine and contemporary life might
necessitate different organizing structures than the past.
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But the current organizing structures are putrid, and don't serve patients
or doctors nearly as well as they should.


Uust last week, The New York Times published a significant video report
about the big business of denying medical care through profit-driven
insurance practices like prior authorization and how insurance companies
can wield power over doctors' decisions, sometimes with fatal
consequences.)


It's both true that UnitedHealth displays particularly bad intentions and
that UnitedHealth is a symptom, not a cause, of a larger U.S. healthcare
disease - a byproduct of a sick, greedy system that almost everyone
knows serves no average person's best interest, whether they're
ideologically left, right or center.


And don't forget, this isn't about harkening back to ancient times. We
used to be able to see our doctors, and generally hold their sustained
attention.


Dr. John Costa, a retired local MKMG pediatrician/former solo practitioner
who contacted me earlier this year with his concerns about healthcare,
stressed that what's been largely lost over only the past 25 years has been
"the art of medicine."


What is now missing?


"The ability of the physician to spend whatever time was needed with the
patient to answer their questions and address their concerns," Costa
wrote in an op-ed he prepared for The Examiner, attributing the broader
healthcare problems to the influence of Managed Care Organizations
(MCOs) and corporate interests.


When was your last appointment with enough time for the doctor to ask
about your diet and sleep patterns with space to truly listen to you,
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instead of hastily scribbling a prescription?


Knockin' on Optum's Door


Lastly, a quick note to reference the fact that several sources told me
about internal efforts to suss out and identify the insiders who have been
leaking all of this reporting detail to me. (There are way too many, don't
bother.)


Corporate leaders should instead direct their energy toward fixing the
vexing problems that their colleagues feel compelled to share with the
world, risking their careers to come forward.


And if the existence of tapes makes executives nervous, well, good, we'd
all be well-served if they wondered whether we're listening as they plan
the future of our care.


In the coming months, I'll be preparing deep-dive columns on local
alternatives, trying to offer frustrated patients an opportunity to explore
their healthcare options.


We've been banging on these locked doors for too long, feeling trapped
by limited choice.


But it's past time for many patients to knock on new doors.


There's real reason for long-term optimism if we demand reform.


Much more to come.


Click here to review 97 pages of new documents obtained from New York
State Attorney General Leticia James' office about CareMount/Optum. (17
MB, PDF)
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